


  ORDER
 

  LIT IS ORDERED that the above referenced applications be granted and consolidated for purposes of briefing and oral argument before this court.
 

  L,IT IS FURTHER ORDERED that while all issues raised in these applications shall be before the court, the parties are directed to focus on the following issue in their briefs to this court: “Whether the
   
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  reassessment and refund process was part of the court-ordered remedy phase of the ongoing litigation in the 19th Judicial District Court and could only be reviewed pursuant to La. R.S. 47:1856, or whether the current proceedings represented “stand-alone” judicial review actions which may be brought pursuant to La. R.S. 47:1998?”
 

  IT IS FURTHER ORDERED that in the exercise of our plenary supervisory jurisdiction pursuant to La. Const. Art. V, § 5(A), any and all court proceedings currently pending in this State from reassessments resulting from the decision in
  
   ANR Pipeline Co. v. Louisiana Tax Com’n,
  
  2005-1142 (La.App. 1 Cir. 9/7/05), 923 So.2d 81,
  
   writ denied,
  
  05-2372 (La.3/17/06), 925 So.2d 547,
  
   cert. denied,
  
  549 U.S. 822, 127 S.Ct. 157, 166 L.Ed.2d 38 (2006), be and hereby are stayed pending further orders of this court.
 

  FOR THE COURT:
 

  /s/ Jeffrey P. Victory /s/ Justice, Supreme Court of Louisiana
 
